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                             UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA

                                        )
GLENN TORTOSO,                          )
                                        )
       Plaintiff,                       )
                                        ) Civil Action No. 8:14-cv-00574-JSM-EAJ
v.                                      )
                                        )
PORTFOLIO RECOVERY ASSOCIATES, )
LLC;                                    )
and DOE 1-5                             )
                                        )
       Defendants.                      )
_________________________________________


                                      NOTICE OF DISMISSAL

       NOTICE IS HEREBY GIVEN that pursuant to Fed.R.Civ.Pro. 41(a), Plaintiff voluntarily

dismisses the entire action with prejudice..



Date: June 2, 2014                              s/ Robert Amador
                                               ROBERT AMADOR, ESQ.
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